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    November 20, 2023

    Honorable Michael A. Shipp, U.S.D.J.
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608

    Re:       Johnson & Johnson Talcum Powder Products, Marketing, Sales Practices and Products
              Liability Litigation
              Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Shipp:

    I write on behalf of the Defendants to request a case management conference to address
    issues that have arisen with the 17 new and revised expert reports served by the PSC last week
    for the first bellwether trial. On September 6, 2023, PSC lead counsel Michelle Parfitt told Your
    Honor, addressing the need for further R. 702 proceedings: “[W]e don’t want to redo. We’re
    moving forward. There’s nothing new that can’t bear cross-examination.” Sept. 6, 2023
    Hearing Tr. at 11: 5 to 6. And: “any amendment to the expert reports of those individual experts
    that have already undergone a Daubert process, extensive Daubert process and briefing, what
    we will be doing is simply supplementing any additional literature that they may have read,
    which one would expect”. Id. at 13:17 to 22.

    That’s what they said. But that’s not what they did. These reports run afoul of the intent of the
    October 10, 2023, scheduling order in that they:

          •   Disclose brand new witnesses who are cumulative: the PSC now discloses reports
              by three entirely new epidemiology experts (two of whom share a report) who have
              never previously been disclosed in this litigation. This, despite that (1) the Plaintiffs’ lead
              counsel told this Court in September that epidemiology/general causation has already
              been definitively addressed, and (2) the PSC had already disclosed five witnesses
              whose reports were dedicated to epidemiology/general causation; by adding the three
              new witnesses, the PSC nearly doubles their number of epidemiology witnesses to eight.

          •   Add new experts on new subjects: One of the PSC’s new witnesses, George
              Newman, is a purported marketing expert who seeks to opine on “branding and
              consumer behavior.” None of the PSC’s other experts, and specifically none of the
              experts who had been disclosed as of when expert discovery from the Plaintiffs closed in
              the Summer of 2021, addressed this topic.
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       •   Disclose new opinions: Numerous witnesses who have previously been disclosed,
           deposed and vetted under R. 702 now add completely new opinions to their previous
           reports. For example:

              o   New opinions on plaintiff-specific genetic testing: The amended report of
                  Shawn Levy – who had not previously been disclosed at all with respect to six
                  bellwether pool trial cases – dedicates seven pages of completely new content to
                  a general discussion of genetic testing and the specific genetic testing results for
                  those plaintiffs. See Amended Rule 26 Expert Report of Shawn Levy, PhD, Nov.
                  15, 2023, at 18-24. Note that the genetic testing results for those plaintiffs were
                  available when the PSC made its prior disclosures in 2021.

              o   New opinions on misbranding/adulteration: The second amended report of
                  Laura Plunkett now adds a new opinion that Defendants’ talcum powder products
                  were misbranded and adulterated because they did not list “toxic constituents in
                  talc such as asbestos, fibrous talc, nickel, chromium, and cobalt.” See Second
                  Amended Report of Laura Plunkett, Nov. 15, 2023, ¶ 105. Previous iterations of
                  the report had defined “misbranding” and “adulteration” but had never opined that
                  those terms applied to the products at issue, let alone explained a basis for such
                  an opinion.

              o   New, extensive opinions on corporate conduct (among other things): The
                  amended report of David Kessler is 154 pages long; his original report (dated
                  November 2018, was 72 pages long. Thus, Dr. Kessler’s “amended” report
                  includes some 82 pages of completely new content, most of which addresses
                  Defendants’ historical conduct in ways that were not even hinted at in his first
                  report. Further, until last week, Dr. Kessler had not been specifically identified
                  as an expert for the bellwether trial cases.

       •   Add language that is clearly directed to subvert the Court’s prior R. 702 rulings:
           For example, one of the several supplemental reports served for plaintiff’s expert William
           Longo includes his talc application and exposure container calculations for six of the
           Bellwether Plaintiffs who comprise the Stage Three cases. Based on his analysis, Dr.
           Longo concludes that “it would be my opinion [to] a reasonable degree of scientific
           certainty that [the Plaintiffs] would have had a substantial exposure to asbestos during
           the many years that they used this J&J talcum powder product.” Expert Report re: Six
           Bellwether Plaintiffs at 20. This appears to be a direct response to Judge Wolfson’s
           Daubert opinion, in which she held that “[b]y failing to conduct an exposure analysis, Dr.
           Longo’s opinion on the likelihood that talc users were exposed to ‘significant’ amounts of
           asbestos, and indeed, any exposure, is too attenuated from his findings of trace levels of
           asbestos in talc.” [Doc. 13186 at 59] The exposure analysis conducted here by Dr.
           Longo, which is unlikely to withstand a R. 702 challenge, is a belated attempt to “fix” the
           flaws identified by Judge Wolfson. Notably, Dr. Longo states in the report that the
           exposure calculations are based on studies “primarily in the 1970’s” and the “application
           calculations are based on information provided by the plaintiff’s attorneys,” all of which
           preceded October 2021.

           Similarly, Judge Wolfson held that “Dr. Longo is not permitted to testif[y] as to his testing
           results under the PLM” because of “the very real reliability and reproducibility issues
           plaguing Dr. Longo’s PLM testing.” [Doc. 13186 at 56-57] Plaintiffs now attempt to fix
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           this by having Dr. Longo opine to a new PLM method (which R. 702 analysis will show is
           not any more reliable than the method previously excluded by Judge Wolfson).

       •   Add opinions on issues that were rejected by Chief Judge Wolfson (eg. Inhalation,
           see Doc. 13186 at 96) or left dormant and not addressed (eg. heavy metals).

    And these are just a few examples. Because of this, we request that the Court set a conference
    as soon as practicable to discuss these developments.

    Context and history are important here. As outlined above, on September 6, 2023, Plaintiffs’
    lead counsel came before Your Honor and urged that there be no further adjudication of R. 702
    issues as to their general causation experts, arguing among other things that the Court had
    already issued an order regarding admissibility following eight days of hearings on those
    experts. The Plaintiffs’ position, as related to Your Honor, was that “we weren’t going to come
    back and redo Daubert” and the Court should “not go back and do that which we spent years
    developing.” Hearing Tr. at 9-10.

    The Defendants pointed out that the science and the law had changed since the R. 702
    hearings before Judge Wolfson in 2019, which concerned reports that Plaintiffs’ experts had
    issued in November 2018 (and on which they were subsequently deposed in 2018). The
    science and the law have also changed considerably since the Plaintiffs’ experts issued their
    reports for the bellwether pool trial cases in June/July 2021 and gave depositions in the ensuing
    months. This is why the Parties agreed to paragraph 2 of the Court’s October 10, 2023,
    Scheduling Order [Doc. 28516] which provided:

           Plaintiffs shall serve, if necessary, supplemental and amended disclosures of all
           general and case-specific experts pursuant to Rule 26(a)(2)(A) and serve on
           Defendants’ counsel the Rule 26(a)(2)(B) reports of all general and case-specific
           expert witnesses they may use at trial in any of the Stage Three cases
           [bellwether pool trial cases] on or before November 15, 2023.

    [Doc. 28516, ¶ 2.] All that was permitted here was to update the Plaintiffs’ ten experts’ reports
    and depositions to reflect changes in the last two years of the science.

    While the science changed, the underlying facts which form the basis of the new opinions did
    not. All of the new opinions, save discussion of literature published between July 2021 and
    November 2023, could have been addressed in the PSC’s July 2021 disclosures. But for the
    bankruptcy stay, the cases would have proceeded to trial with the plaintiffs bound to the
    witnesses and opinions disclosed in those July 2021 disclosures. The provision for updating
    those July 2021 disclosures to reflect interim developments was not meant to permit the
    Plaintiffs to reboot the entire expert discovery process from scratch. While Plaintiffs argued
    vociferously back in September against what they perceived as a “do-over”, they are now
    essentially “doing over” their expert line up and opinions.

    For these reasons, Defendants request that the Court hold a case management conference as
    soon as practicable to discuss the permissible scope of the PSC’s bellwether trial pool expert
    disclosures and how that scope impacts the existing pretrial schedule, limits imposed on expert
    depositions, when Plaintiffs have to disclose which of the 28 expert witnesses they may call in
    the first bellwether trial, and the scope and scheduling of R. 702 challenges on all of these 17
    experts and their opinions, both old and new .
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    Thank you for your consideration of these matters.

    Respectfully,




    Susan M. Sharko



    SMS/emf

    cc:    Hon. Joel Schneider, U.S.M.J. (ret.) (via email)
           The Plaintiffs’ Steering Committee (via email)
           All Counsel (via ECF)
